                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

THE UNITED STATES OF AMERICA §
                             §
vs.                          §                       CAUSE NO.: 1:22-CR-15
                             §
ELMER STEWART RHODES, III    §


                  AGREED ENTRY OF APPEARANCE OF COUNSEL

X      I wish to enter my appearance as retained co-counsel for the above-named
defendant in this cause.

☐      I hereby enter my appearance as appointed counsel for the above-named
defendant in this cause.

        I understand that it is my duty to continue to represent the above-named defendant,
in connection with all matters relating to this case, and in connection with all proceedings
therein in this court; unless and until, after written motion filed by me, I am relieved by
Order of the Court.


Dated: January 24, 2022                              /S/ PHILLIP A. LINDER________
                                                     ATTORNEY FOR DEFENDANT
                                                     STATE BAR NO. 12363560
                                                     3300 OAK LAWN AVENUE, SUITE 700
                                                     DALLAS, TEXAS 75219
                                                     (214) 252- 9900 OFFICE
                                                     (214) 252-9902 FAX



                              CERTIFICATE OF CONFERENCE

       I conferred with Assistant United States Attorney, Kathryn Rakoczy, on January
24, 2022, and does she not oppose this Entry of Appearance of counsel.


                                                     _/S/ PHILLIP A. LINDER
                                                     ATTORNEY FOR DEFENDANT




AGREED ENTRY OF APPEARANCE OF COUNSEL- RHODES                                             1
